Case 1:13-cr-00473-RM Document 174 Filed 07/07/17 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge Raymond P. Moore


Criminal Case No. 13-cr-00473-RM-1
Civil Action No. 16-cv-01044-RM

UNITED STATES OF AMERICA,

       Plaintiff-Respondent,

v.

1. GARY SNIKSY,

       Defendant-Movant.



                 ORDER DENYING LEAVE TO PROCEED ON APPEAL
                 PURSUANT TO 28 U.S.C. ' 1915 AND FED. R. APP. P. 24


       Mr. Snisky has submitted a Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant

to 28 U.S.C. ' 1915 (IFP Motion) (Doc. # 173), which the Court has construed liberally as a

motion for leave to proceed in forma pauperis on appeal. The Court has examined the file and has

determined that the motion must be denied. Pursuant to 28 U.S.C. ' 1915 the Court finds that this

appeal is not taken in good faith because Mr. Snisky has not shown the existence of a reasoned,

nonfrivolous argument on the law and facts in support of the issue(s) raised on appeal.

Furthermore, the IFP Motion is not submitted on the correct form. Accordingly, it is

       ORDERED that the Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant to 28

U.S.C. ' 1915 (Doc. # 173) is DENIED. Mr. Snisky may file a motion for leave to proceed on
Case 1:13-cr-00473-RM Document 174 Filed 07/07/17 USDC Colorado Page 2 of 2




appeal pursuant to 28 U.S.C. ' 1915 in the Tenth Circuit Court of Appeals.

       DATED this 7th day of July, 2017.

                                                   BY THE COURT:



                                                   ____________________________________
                                                   RAYMOND P. MOORE
                                                   United States District Judge




                                               2
